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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

Pamela Jones, et al 3

 

V.

Case No. 8:21 -cv-00891

 

United States of America, et al

 

Date

RetumofService (06/2016)

RETURN OF SERVICE

I served the following documents (check all that apply):

4
O
bg

summons
complaint and any attachments
subpoena

. Standing Order 2019-07; Consent to Exercise of Jurisdiction by US Magistrate; Case Mgmnt Order
other - describe:

 

By (check method of service):

O ONO

 

Personal - place served:
Certified mail, restricted delivery - attach green card

Left copies at subject’s dwelling house or usual place of abode with person of
suitable age and discretion residing therein

Other - describe:

 

 

On (name of person or entity served): USA c/o Jonathan Lenzner

Date of service:

 

April 16, 2021

 

I declare under penalty of perjury under the laws of the United States that the foregoing
information is true and correct.

April 28, 2021 Yee

Meat Meabinowity
Aryeh M. Rabinowitz

Printed Name of Process Server

 

300 W. Pratt Street, Ste 450, Baltimore, MD 21201

 

Address of Process Server

410-539-6633

Telephone Number of Process Server

 
